                                        IN THE UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF TENNESSEE
                                                  AT CHATTANOOGA

               MARTHA A. COOK and                                     )
               KENNETH W. COOK,                                       )
                                                                      )
                        Plaintiffs,                                   )
               v.                                                     )    CIVIL NO: 1:07CV-108
                                                                      )    Judge: Collier
                                                                      )    Magistrate Judge: Lee
               STATE FARM MUTUAL AUTO                                 )
               INSURANCE COMPANY,                                     )
                                                                      )
                        Defendant.                                    )


                                             ORDER OF DISMISSAL

        It appearing to the Court, as evidenced below by the signatures of counsel for the

respective parties, that the parties have reached and consummated a complete settlement of all

controversies in this suit and that, therefore, it is just and proper that this suit be dismissed, with

prejudice, all of which appears proper to this Court.

       It is, therefore, ORDERED, ADJUDGED and DECREED that this case be, and hereby is,

dismissed with prejudice.

       This ______ day of October, 2007.



                                                                 /s/
                                               __________________________________________
                                                   HONORABLE CURTIS L. COLLIER




               327458.1/2007689
                Case 1:07-cv-00108 Document 11 Filed 10/03/07 Page 1 of 2 PageID #: <pageID>
APPROVED FOR ENTRY:



s/Christopher D. Markel with permission
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AUTOMOBILE INSURANCE COMPANY




                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 2, 2007, a copy of the foregoing was filed electronically.
Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
indicated on the electronic filing receipt. All other parties will be served by regular U.S. mail.
Parties may access this filing through the Court’s electronic filing system.

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327458.1/2007689

                                     2
Case 1:07-cv-00108 Document 11 Filed 10/03/07 Page 2 of 2 PageID #: <pageID>
